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                                   #:274




                 EXHIBIT 27
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                                                      #:275

 (/)


                                AUTHY & FACOOK

                                         DOWNLOAD AUTHY APP (/INTALL/)




       HOW IT WORK (/TUTORIAL/)   GOOGL AUTHNTICATOR (/TUTORIAL/HOW-U-AUTHY-GOOGL-AUTHNTICATOR/)

                          GMAIL VRIFICATION (/TUTORIAL/NAL-2-TP-VRIFICATION-GMAIL/)

                   FACOOK AUTHNTICATION (/TUTORIAL/ADD-2-FACTOR-AUTHNTICATION-FACOOK/)

                      DROPOX VRIFICATION (/TUTORIAL/NAL-TWO-TP-VRIFICATION-DROPOX/)




                  TUP FACOOK TWO FACTOR AUTHNTICATION

Improve the ecurit for our faceook account eail uing 2 factor authentication and keep it
afe from hacker and hijacker.

Firt of all, chooe our flavor and intall Auth on our moile device if ou haven't done o
et:




                         (http://itune.apple.com/en/app/auth/id494168017?
                                                      (http://pla.google.com/tore/app/detail?
                                       mt=8)               id=com.auth.auth&hl=en)



Activate the two tep verification for faceook following the next imple tep:




                                                   Ex. 27, p. 248
Case 2:16-cv-02106-PSG-SS    Document 1-27     Filed 03/28/16   Page 3 of 8 Page ID
  Open our Faceook and go to "Account
                                  #:276 etting".




  On "ecurit etting", in "Login Approval" click "dit".




                                  Ex. 27, p. 249
      Case 2:16-cv-02106-PSG-SS   Document 1-27    Filed 03/28/16   Page 4 of 8 Page ID
        Click "Get tarted".             #:277




        nter a name and click "Add rower".




        elect "Android, iPhone or iPod Touch".




(/)
                                      Ex. 27, p. 250
      Case 2:16-cv-02106-PSG-SS      Document 1-27     Filed 03/28/16   Page 5 of 8 Page ID
Product (/product/)
         nter our Cellphone numer.       #:278
App (/app/)

Developer (/developer/)

log (/log/)

Reource (/reource/)

Dahoard (/login/)


CONTACT AL (/CONTACT-AL/)



  GT UPPORT (/APP/#UPPORT)




         Wait for the verification code to arrive an enter it.




         Click "Cloe".




                                          Ex. 27, p. 251
Case 2:16-cv-02106-PSG-SS    Document 1-27     Filed 03/28/16   Page 6 of 8 Page ID
  Now click "etup Code Generator".#:279




  Click "Having Troule?" link.




  Click "Get Ke".




                                  Ex. 27, p. 252
Case 2:16-cv-02106-PSG-SS   Document 1-27    Filed 03/28/16   Page 7 of 8 Page ID
  Faceook will how ou a 16 digit#:280
                                    ke.




  Open the Auth App and click "+ Authenticator App". Click "nter ke
  manuall".




               00:21




  nter the ou ee on the creen and click continue.




                                Ex. 27, p. 253
         Case 2:16-cv-02106-PSG-SS             Document 1-27        Filed 03/28/16   Page 8 of 8 Page ID
             Click "Finih".                          #:281




Developer Documentation (http://doc.auth.com/) Help! (/faq/) ecurit Iue (/ecurit-iue/)

Privac tatement (/privac-tatement/) Term of ervice (/term-of-ervice/)

Product (/product/)   App (/app/)     Developer (/developer/)   log (/log/)

Jo (http://www.gladoor.com/Jo/Twilio-auth-Jo-I_I410790.0,6_KO7,12.htm)       Pre (/compan/pre/)

Contact ale (/contact-ale/)     Get upport (/app/#upport)

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@auth (http://twitter.com/auth)     faceook.com/authec (http://www.faceook.com/authec?_rdr=p)

githu.com/auth (http://githu.com/auth)

linkedin.com/compan/auth (http://www.linkedin.com/compan/auth)




                                                     Ex. 27, p. 254
